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              United States District Court
     -------------------------- DISTRICT OF KANSAS----------------------------

CHARMANE SMITH,

                    Plaintiff,

v.                                                Case No: 20-2580-JWB

VALU MERCHANDISERS, CO.,

                    Defendant,


                       JUDGMENT IN A CIVIL CASE
☐     Jury Verdict. This action came before the Court for a jury trial. The issues have been
      tried and the jury has rendered its verdict.

☒     Decision by the Court. This action came before the Court. The issues have been
      considered and a decision has been rendered.


      In accordance with the Memorandum and Order filed January 7, 2021, Plaintiff’s
      complaint is DISMISSED.




__January 7, 2021_________                        TIMOTHY M. O’BRIEN
    Date                                          CLERK OF THE DISTRICT COURT

                                                  by: __s/ Joyce Roach_______________
                                                         Deputy Clerk
